          Case 1:21-cr-00670-CJN Document 69 Filed 05/17/22 Page 1 of 6




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA,            :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                            REPLY IN SUPPORT OF
                   DEFENDANT’S MOTION TO EXCLUDE EVIDENCE

   Defendant Stephen K. Bannon, through his undersigned counsel, respectfully submits this

Reply in support of his Motion To Exclude Evidence [Doc. 56], and states as follows:

   The Government opposes the Defendant’s Motion for two reasons. [Doc. 67]. First, the

Government argues that even if Mr. Bannon’s due process rights were violated – when the

Government obtained his lawyer’s telephone records via grand jury subpoena; his lawyer’s email

records pursuant to a court order; and additional records after a surreptitious FBI “interview” of

his lawyer – nonetheless the exclusion of evidence obtained is not the preferred remedy. [Id. at 2-

3]. Second, the Government contends that their efforts to obtain evidence in this case by

targeting Mr. Bannon’s lawyer constituted a run-of-the-mill investigative technique, such that no

sanction is warranted. [Id. at 2-3]. Such reckless disregard for the sanctity of the attorney-client

privilege should not be endorsed by this Court.

     As to the first argument, we agree. Dismissal of the Indictment is preferred, and we have

moved for dismissal on that ground. [Doc. 58 at 48-51]. In the event that this Court does not

dismiss the Indictment, the exclusion at trial of evidence obtained through the Government’s
          Case 1:21-cr-00670-CJN Document 69 Filed 05/17/22 Page 2 of 6




over-reaching is warranted. As discussed below, it is well settled that this Court may exclude

evidence where, as here, it was obtained after the Government violated a defendant’s

constitutional rights. The Government’s second argument is troubling. They could have taken the

high road by admitting their error and asking this Court for forgiveness. But even after a hearing

on this issue, the Government maintains that – in a misdemeanor case – they are allowed to

interfere with the attorney-client relationship and seek an attorney’s telephone and email records,

all while using good-faith declination discussions to surreptitiously “interview” the defendant’s

attorney to secure evidence against the defendant.

    History teaches us that what is permitted will come to be expected. If no sanction is imposed

for this gross abuse of power, then years from now the Bannon case will stand for the proposition

that a federal prosecutor is just doing a thorough investigation when he or she: (a) seeks a grand

jury subpoena for the attorney’s phone records; (b) seeks a court order for the attorney’s email

records; and (c) surreptitiously “interviews” a defendant’s attorney under the guise of

participating in counsel discussions regarding a proposed declination, when all the while the

prosecution was considering the lawyer a witness to a purported “crime” rather than an advocate

on behalf of a client. What is permitted will come to be expected. We ask this Court to remind

the U.S. Attorney’s Office that it is not an ordinary party. To remind them that their mission is

not to win at all costs. The Government’s sole interest should be to see that justice is done.

   Decades of jurisprudence hold that in order to effectuate the guarantees provided to criminal

defendants under the U.S. Constitution, evidence obtained in violation of constitutional rights

must be excluded from trial. Suppression of such evidence is an important tenet of our criminal

justice system and ensures that our system prioritizes justice over a prosecutor’s case stats. For

example, when police conduct a custodial interrogation without first advising the suspect of their

                                                 2
          Case 1:21-cr-00670-CJN Document 69 Filed 05/17/22 Page 3 of 6




constitutional rights, the suspect’s statement cannot be used against them. Miranda v. Arizona,

384 U.S. 436 (1966). Similarly, where the government has obtained evidence after an

unreasonable search and seizure, the evidence must be excluded from trial. See Weeks v. United

States, 232 U.S. 383 (1914). Likewise, the Constitution protects the attorney-client relationship.

Protecting the integrity of the attorney-client relationship is a justification for excluding evidence

under the Fifth Amendment. Contrary to the Government’s assertions, the law is clear that the

right to effective assistance of counsel is guaranteed by the Sixth Amendment of the

Constitution, and deliberate Governmental intrusions into the defendant’s attorney-client

relationship – as happened here – violate due process. United States v. Hsia, 81 F.Supp.2d 7, 19

(D.D.C. 2000); U.S. v. Schell, 775 F.2d 559 (4th Cir. 1985).

   The Government’s actions here to surreptitiously investigate Mr. Costello, and to try to make

him appear to be a witness against Mr. Bannon, compromised Mr. Bannon’s constitutional right

to counsel. See U.S. v. Irwin, 612 F.2d 1182, 1187 (9th Cir. 1980) (prejudice to defendant can

“result from the prosecution’s use of confidential information pertaining to the defense plans

and strategy, from government influence which destroys the defendant’s confidence in his

attorney and from other actions designed to give the prosecution an unfair advantage at trial.”).

In addition, courts have found that an accused’s right to counsel is compromised where, as here,

the prosecution tries to turn the lawyer into a witness against the accused. See United States v.

Marshank, 777 F. Supp. 1507, 1524 (N.D. Cal. 1991); U.S. v. Schell, 775 F.2d 559, 565 (4th Cir.

1985) (“Without question, the client’s right to a fair trial, secured by the due process clauses

of the fifth and fourteenth amendments, is compromised under these circumstances.”).

   The Government has acknowledged that they viewed Mr. Bannon’s attorney, Mr. Costello, as

a witness. [Doc. 31 at 12-13] (Costello was “a witness to the Defendant’s deliberate decision to

                                                  3
          Case 1:21-cr-00670-CJN Document 69 Filed 05/17/22 Page 4 of 6




ignore the subpoena’s requirements.”). The Government further stated that Mr. Costello was a

witness on the issue of whether Mr. Bannon was served with the Select Committee subpoena, see

Hr’g Tr. 11:25-12:7, Mar. 16, 2022], a fact that has never been in dispute in this case, nor was it

an issue raised in the two sessions that Mr. Costello participated in with these same prosecutors.

As discussed in our other filings and at oral arguments on March 16, 2022 [Docs. 26 at 13-14;

Hr’g Tr. 58:13-61:15], any fact that the Government hoped to prove through Mr. Costello could

have been proved without serving a subpoena for his telephone records, obtaining a court order

for his email records, or conducting a surreptitious “interview” of him. Thus, the Government’s

tactics in this case were wholly unnecessary and designed solely to interfere with Mr. Bannon’s

attorney-client relationship.

   As a practical matter, if the Government is allowed to intrude into a defendant’s attorney-

client relationship every time they believe that defense counsel might have information relevant

to a defendant’s alleged criminal culpability, then the attorney-client privilege would be rendered

meaningless. Here, the Government drove a wedge between Mr. Bannon and his attorney. Under

similar circumstances, the Marshank court dismissed the indictment, noting that:

   The government’s decision to use [Defense Counsel] and [Defense Counsel’s] clients to
   develop a case against Stephen Marshank created a conflict of interest between [Defense
   Counsel] and Marshank. The government was aware of this conflict and took advantage of it.
   The government did nothing to alert the court or the defendant of the conflict of interest.
777 F. Supp. At 1519.

   In addition, the Government seeks to excuse its actions here with regard to the § 2703(d)

Order by stating that some of the records belong to an “individual the Defendant has previously

claimed has no relation to his attorney.” [Doc. 67 at 1,3]. But a near miss does not excuse them




                                                4
          Case 1:21-cr-00670-CJN Document 69 Filed 05/17/22 Page 5 of 6




from firing a bad shot. Instead, it merely demonstrates that the Government was so reckless in

their pursuit of Mr. Costello’s records that they subpoenaed the wrong email accounts.

   While we agree with the Government that pre-indictment meetings between AUSAs and

defense counsel are a common practice, it is highly irregular for the Government to

surreptitiously turn these meetings into FBI interviews, complete with FBI 302 reports that make

it appear as though the defense attorney agreed to give a witness interview without the consent of

his client. The defense team – with many decades of collective white-collar defense experience –

has never heard of that practice. To be sure, if the Government is allowed to employ this

subterfuge, it would have a chilling effect on any such negotiations. In the future, no defense

attorney would risk communicating with the prosecution for fear of being subjected to such

intrusive tactics. Will this Court allow the Bannon case stand for the proposition that in

negotiations, prosecutors can employ whatever tactics they wish, while defense attorneys must

employ the adage caveat emptor?

   That the Defense has moved for dismissal of the Indictment in a separate motion does not

preclude it from moving, in the alternative, to exclude the illegally obtained evidence. However,

if this Court finds, as the Government suggests it should, that dismissal of the Indictment is the

appropriate remedy for a constitutional violation, the Defense will not complain. [See Doc. 67] at

2 (“But the usual remedy for outrageous government conduct is ‘dismissal of the charges, rather

than suppression of the evidence.’”) (citing United States v. Bouchard, 886 F. Supp. 111,121 (D.

Maine 1995).

   WHEREFORE, for the reasons set forth in our filings, together with argument presented at

the hearing on this Motion, Defendant Stephen K. Bannon respectfully requests that this Court

grant the Motion To Exclude Evidence.

                                                5
          Case 1:21-cr-00670-CJN Document 69 Filed 05/17/22 Page 6 of 6




Dated: May 17, 2022                          Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 17th day of May 2022, a copy of the foregoing Reply

In Support Of Motion To Exclude Evidence was filed through the Court’s CM/ECF system and

served via electronic delivery on counsel of record.

                                                /s/ M. Evan Corcoran
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